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                              UNITED STATES DISTRICT
                                COURT SOUTHERN
                               DISTRICT OF FLORIDA

                 Case No.              –Civ–                /

 MINOO A. BALANI,

                Plaintiff,

 vs.

 ROYAL CARIBBEAN INTERNATIONAL, LTD.

                Defendant.

                                                /

                                       COMPLAINT

         COMES NOW, the Plaintiff, MINOO A. BALANI, by and through her

 undersigned attorneys, and sues Defendant, ROYAL CARIBBEAN INTERNATIONAL,

 LTD. (hereinafter referred to as “Royal Caribbean”), and alleges:

         1.    This is an action for damages in excess of $75,000,00 and within the

jurisdiction of the Court pursuant to 28 U.S.C. §1333 and 28 U.S.C. § 1332 since the claims

alleged fall under the purview of maritime law, and there is diversity of citizenship between

the parties.

         2.    At all times material hereto, Plaintiff, MINOO A. BALANI, was and is sui

juris a citizen of China.

         3.    The Defendant, ROYAL CARIBBEAN, is a foreign corporation with

principal place of business in the State of Florida, 1050 Caribbean Way, Miami, Florida,

33132.




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       4.     The Defendant, ROYAL CARIBBEAN, at all times material hereto,

personally, or through an agent:

              a. Operated, conducted, engaged in or carried on a business venture in this

                  State and/or County, or had an officer or agency within this State or

                  County;

              b. Was engaged in substantial activity within this State;

              c. The Defendant was engaged in the business of providing to the public,

                  including, but not limited to, the Plaintiff in particular, for compensation,

                  vacation cruises aboard the vessel, Voyager of the Seas.

       5.     Venue is proper in the Southern District of Florida pursuant to the passenger

ticket the Defendants sold the Plaintiff which contains a forum-selection clause that says

that actions such as this may be filed only in Miami, in the United States District Court for

the Southern District of Florida.

       6.     The action arises out of an accident aboard a cruise vessel named the Voyager

of the Seas, which was, at all relevant times, traveling through navigable waters.

       7.     The Plaintiff has performed all conditions precedent to be performed by the

Plaintiff, or the conditions have occurred.

                 GENERAL ALLEGATIONS COMMON TO ALL COUNTS

       8.     Plaintiff, MINOO A. BALANI, was, at all relevant times, a fare paying

passenger aboard the vessel, Voyager of the Seas, as she had paid the required compensation

for transportation.

       9.     On or about August 22, 2018, while the subject vessel was in navigable

waters, in open sea, Plaintiff, MINOO A. BALANI, suffered serious injuries when she was

caused to slip and fall as she was walking towards the bathroom on Deck 4.
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       10.     The condition which caused the Plaintiff to slip and fall was a dangerous

condition on the subject vessel of which the owner or operator knew or should have known.

                                 COUNT-I
              (NEGLIENCE-ROYAL CARIBBEAN INTERNATIONAL, LTD.)

       11.     Plaintiff re-avers and re-alleges the allegations contained in paragraphs one

(1) through ten (10) as if fully set forth herein.

       12.     On or about August 22, 2018, Defendant, ROYAL CARIBBEAN, owed the

Plaintiff a duty of reasonable care under the circumstances.

       13.     At that time and place, on Deck 4, Defendant, ROYAL CARIBBEAN

breached its duty of care in one or more of the following ways, causing the Plaintiff to sustain

serious personal injury when she slipped and fell in water or some other transitory foreign

substance:

       a.      That Defendant caused and/or created water or some other slippery
               substance to be on a section of the deck on which the passengers
               frequently traverse;

       b.      The Defendant allowed water or some other slippery substance to sit
               and pool on a surface that the Defendant knew or should have known
               is frequently traversed by passengers, when the Defendant could have
               easily squeegeed/mopped the deck or taken other simple steps to
               remove the water and/or slippery substance;

       c.      The Defendant failed to dry the walking surface;

       d.      The Defendant failed to adequately inspect the deck for the water
               and/or slippery substance to ensure the safety of its passengers,
               including, but not limited to, the Plaintiff;

       e.      The Defendant failed to properly maintain a section of the floor to
               ensure that the water and/or slippery substance was properly removed
               from the deck;

       f.      The Defendant failed to properly maintain a section of the floor to
               ensure that water would flow into a drain and not pool;


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       g.      The Defendant failed to take adequate steps to ensure that water
               would drain off the deck into a drain pipe, rather than stand and pool;

       h.      Defendant failed to warn passengers about the presence of a slipping
               hazard or failed to put in place a system under which crew members
               would frequently inspect that area and mop up water or other liquids
               that pooled in that area;

       i.      Knowing that water or other liquids would likely remain or pool upon
               the deck, the Defendant failed to take adequate steps to ensure that the
               deck’s surface in that area was slip resistant;

       j.      The Defendant failed to assign enough crew members to monitor the
               area and make it safe;

       k.      The Defendant failed to put in place a system under which crew
               members would frequently inspect that area and mop up water or
               other liquids that pooled in that area;

       l.      The Defendant knew about this hazardous condition or the condition
               had existed for a sufficient length of time that the Defendant should
               have known about it, or the condition occurred with regularity and
               was therefore foreseeable;

       m.      The Defendant knew or should have known about the slippery
               condition of the flooring material, and failed to remedy same prior the
               subject incident; and

       n.      The Defendant breached its duty in other ways to be determined
               during discovery.

       14.      ROYAL CARIBBEAN caused and/or created the hazards described in

paragraphs 13(a) through 13(n) above, and/or those hazards were known to ROYAL

CARIBBEAN, or had existed for sufficient length of time that ROYAL CARIBBEAN

should have known about them, or the hazards occurred with regularity and were thus

foreseeable.

       15.      As a result of Defendant’s negligence, the Plaintiff suffered bodily injury and

resulting pain and suffering, disability, physical impairment, disfigurement, mental anguish,

inconvenience, loss of capacity for the enjoyment of life, expense of hospitalization, medical

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and nursing care and treatment, loss of earnings, loss of ability to earn money, and/or the

aggravation of a previously existing condition. The losses are either permanent or

continuing and the Plaintiff will suffer the losses in the future.

         WHEREFORE, the Plaintiff, MINOO A. BALANI, demands judgment for more

than $75,000 in damages against the Defendant, and costs, and the Plaintiff demands a jury

trial.

         Dated this 16th day of July, 2019.

                                                       Respectfully Submitted,

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